     Case 2:21-mj-04560-DUTY Document 11 Filed 10/25/21 Page 1 of 4 Page ID #:35



 1
 2
 3
 4
 5
 6
 7
 8
              IN THE UNITED STATES DISTRICT COURT
 9
             FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
12                                         Case No. MJ-21-04560-DUTY
     UNITED STATES OF AMERICA,
13
                  Plaintiff,
14                                         ORDER OF DETENTION
15
     SANTOS MENA SIXTOS,
16
                   Defendant.
17
18
                                          I.
19
         The Court conducted a detention hearing:
20
         ❑     On motion ofthe Government[18 U.S.C. § 31420(1)] in a case:
21
         allegedly involving:
22
              ()a crime of violence.
23
              ()an offense with a maximum sentence of life imprisonment or
24
               death.
25
              ()a narcotics or controlled substance offense with the maximum
26
               sentence often or more years.
~~
~g
      Case 2:21-mj-04560-DUTY Document 11 Filed 10/25/21 Page 2 of 4 Page ID #:36



 1              ( )any felony —where defendant convicted oftwo or more prior
 2                offenses described above.
 3               ( )any felony that is not otherwise a crime of violence that involves a
 4                minor victim, or possession of a firearm or destructive device or any
 5                other dangerous weapon, or a failure to register under 18 U.S.C.
 6                § 2250.
 7
 8         ~      On motion by the Government or on the Court's own motion
 9 [18 U.S.C. § 31420(2)] in a case allegedly involving, on further allegation by the
10   Government of:
11               (X)a serious risk that defendant will flee
12               ()a serious risk that the defendant will( )obstruct or attempt to
13               obstruct justice;( )threaten, injure or intimidate a prospective witness
14               or juror, or attempt to do so.
15
16         ❑ The Court concludes that the Government is entitled to a rebuttable
17   presumption that no condition or combination of conditions will reasonably assure
18   the defendant's appearance as required and the safety or any person or the
19   community [18 U.S.C. § 3142(e)(2)].
20
21                                         II.
22         D The Court finds that no condition or combination of conditions will
23   reasonably assure: ~ the appearance ofthe defendant as required.
24                      ❑ the safety of any person or the community.
25         ❑ The Court finds that the defendant has not rebutted by sufficient evidence
26   to the contrary the presumption provided by statute.
27
~g                                         III.

                                                  2
         Case 2:21-mj-04560-DUTY Document 11 Filed 10/25/21 Page 3 of 4 Page ID #:37



    1         The Court has considered:(a)the nature and circumstances ofthe offenses)
   2    charged, including whether the offense is a crime of violence, a Federal crime of
   3    terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
   4    or destructive device;(b)the weight of evidence against the defendant;(c)the
   5    history and characteristics ofthe defendant; and(d)the nature and seriousness of
   6    the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also
   7    considered all the evidence adduced at the hearing and the arguments, the
   8    arguments of counsel, and the report and recommendation ofthe U.S. Pretrial
   9    Services Agency.
 10                                           L►~~
 11           The Court bases its conclusions on the following:
 12           ~ As to risk ofnon-appearance: no stable employment or residence;
 13     unverified background information; no available bail resources; history of
 14     substance abuse.
 15           ❑ As to danger to the community:
 16
 17           ///
 18           ///
 19           ///
20
~~
 ~~

:~~
 .. J


?4
?5
~~
~~
~g                                                   V.
        Case 2:21-mj-04560-DUTY Document 11 Filed 10/25/21 Page 4 of 4 Page ID #:38



 1            ❑     The Court finds a serious risk that the defendant will

 2                  ❑      obstruct or attempt to obstruct justice.

 3 I                ❑      threaten, injure or intimidate a prospective witness or juror, or

 4'                        attempt to do so.

 5 '         The Court bases its conclusions on the following:

 6
 7                                              VI.
 8           IT IS THEREFORE ORDERED that the defendant be detained until trial.

 9     The defendant will be committed to the custody of the Attorney General for

10     confinement in a corrections facility separate, to the extent practicable, from

11     persons awaiting or serving sentences or being held in custody pending appeal.

12     The defendant will be afforded reasonable opportunity for private consultation

13     with counsel. On order of a Court of the United States or on request of any

14     attorney for the Government, the person in charge of the corrections facility in

15     which defendant is confined will deliver the defendant to a United States Marshal

16     for the purpose of an appearance in connection with a court proceeding.

17 [18 U.S.C. § 3142(1)]
18
       Dated: 10/25/2021
19
                                               HON. ROZELLA A. OLIVER
20                                             UNITED STATES MAGISTRATE JUDGE
21
22
23
24
25
26
27
28

                                                 0
